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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -- GENERAL

Case No.     CV 20-929-MWF(PJWx)                                       Dated: December 1, 2021

Title:       Arthur L. Charow -v- Princess Cruise Lines, Ltd.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                    None Present
             Courtroom Deputy                                Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                   None Present

PROCEEDINGS (IN CHAMBERS) COURT ORDER

       In light of the Notice of Settlement [27] filed November 22, 2021, the Court sets a
hearing on Order To Show Cause Re Dismissal for January 24, 2022 at 11:30 a.m. If a
stipulated dismissal is filed prior to this date, the matter will be taken off calendar and no
appearance is needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




MINUTES FORM 90                                                   Initials of Deputy Clerk       rs
CIVIL ‐ GEN
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